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                                                          U.S. DISTRICT COUR f
                            States!IBisaitrict Cottl!iy^''^AH oiv.
          for tl^e ^ontl^em IBisttrtct of                               ^
                                                           SO.OIST.mA
UNITED STATES OF AMERICA,
                                   )
V.                                 )             CR517-12

CHRISTOPHER WELLS,

     Defendant.


                                   ORDER


     Before   the   Court   is   Christopher     Wells'    ("Wells") pro se

"Motion to Transfer Facilities," dkt. no. 607.               Per this Court's

Local   Rules,    "Absent    prior       leave   of   Court,      a    defendant

represented by counsel may not file a motion, brief, or other

paper pro se, except for a motion for the appointment of new

counsel or a motion to proceed pro se."               Loc. Crim. R. 44.2.

Accordingly, because Wells is represented by counsel, the Court

DENIES his motion, dkt. no. 607.




     SO ORDERED this   li        day o
                            f
                                    HOpI.^ISA GODBEY WOOD, JUDGE
                                           D STATES DISTRICT COURT
                                    SOWhERN district of GEORGIA
